

People v Wilhelm (2022 NY Slip Op 05507)





People v Wilhelm


2022 NY Slip Op 05507


Decided on October 04, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 04, 2022

Before: Gische, J.P., Friedman, Scarpulla, Rodriguez, Higgitt, JJ. 


Ind. No. 972/15 Appeal No. 16317 Case No. 2016-857 

[*1]The People of the State of New York, Respondent,
vMiguel Wilhelm, Defendant-Appellant.


Seymour W. James, Jr., The Legal Aid Society, New York (Joanne Legano Ross of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Nancy D. Killian of counsel), for respondent.



Appeal from judgment, Supreme Court, Bronx County (George Villegas, J.), rendered June 8, 2015, convicting defendant, upon his plea of guilty, of attempted assault in the second degree, and sentencing him to a term of 364 days, held in abeyance, application by assigned counsel to withdraw is denied without prejudice to renewal, and counsel is directed to communicate with defendant regarding this application for relief under People v Saunders  (52 AD2d 833 [1st Dept 1976]).
Counsel has not provided any indication that she communicated to defendant the
substance and expected consequences of counsel's Saunders  brief and advised him of his right to file a pro se supplemental brief.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 4, 2022








